Lh-l§»L)JI\-)

\DQQ‘-JG‘\

10
11
12
13
14
15
16
12
13
19
20
21
22
23
24
25
26

Case 2:1O-CV-00227-BHS Document 286 Filed 10/03/12 Page 1 of 1
Case 2:10-cv-0022?-BHS Document 279-2 Filed 09!13!12 Page l ot l

THE HONORABLE BENJAMI'N H. SETTLE

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
COLOPLAST AJ'S, No. CV 10-227 BHS
PlaintifffCounterclaim ORDER GRANTING
Defendant, MOTION FOR LEAVE 'I`O WITH])RAW
AS COUNSEL FOR GENERIC
v. MEDICAL DEVICES, lNC.

GENERIC MEDICAL DEVICES, INC.,

Defendant/Counterclaimant.

 

 

 

This matter came before the Court on DLA Piper LLP (US) (“DLA Piper”) Motion for
Leave to Withdraw as Counsel for Generic Medical Deviees, Inc. (“GMD”). I-laving
considered the motion and all papers filed in support of and in opposition to the motion, and
being fully advised on the premises, now, therefore, it is:

ORDERED that DLA Piper is withdrawn as counsel of record for Generio Medical
Dcvices, Inc., and electronic notifications to all DLA Piper attorneys, including Stellman

Keehnel, Tirnothy Lohse, Aaron Wainscoat Carrie Williamson, Chang Kim and Nicole

Tadano, are to be terminated M%
Dated 11115 L day o&i§Lg/zon_ jj

Unl ed St UeB’Distf‘ict Judge

DLA Piper LLP (Us)
[PRoPosEo] oRDER GRANTING MoTIoN To 701 Fiah Av¢nue, suite 7000
wlTHDRAW As coUNsEL ~1 seaule, WA 93104-7044 » Te1:206.339,4300

No. CV 10-227 BHS

 

